Case 6:04-cr-00052-MHS          Document 91          Filed 05/29/08    Page 1 of 1 PageID #: 234




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §            CRIMINAL NO. 6:04-CR-52-2
                                                 §
AMBER MARIE PICKARD                              §

                ORDER ADOPTING REPORT AND RECOMMENDATION
                    OF UNITED STATES MAGISTRATE JUDGE

       The above entitled and numbered criminal action was referred to United States Magistrate

Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report and Recommendation of the

Magistrate Judge, which contains his proposed findings of fact and recommendations for the
  .
disposition of the present action, has been presented for consideration. The parties waived objections

to the Report and Recommendation.

       The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

correct. Therefore, the Court hereby adopts the Report and Recommendation of the United States

Magistrate Judge as the findings and conclusions of this Court.


       SIGNED this 28th day of May, 2008.




                                                           ____________________________________
                                                           MICHAEL H. SCHNEIDER
                                                           UNITED STATES DISTRICT JUDGE
